FORM VAN−AD21a
REVISED 06/01/2014


                                       UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF ARIZONA


In re:                                                          Case No.: 2:17−bk−10972−EPB

  LAURA LYNN IBARRA                                             Chapter: 7
Debtor(s)



   VICKIE BANKS                                                 Adversary No.: 2:17−ap−00718−EPB
Plaintiff(s)

v.

  LAURA LYNN IBARRA
Defendant(s)



                                          ORDER TO PAY FILING FEE

    The above−captioned adversary proceeding has been commenced by the plaintiff filing a complaint or a party
filing a Notice of Removal without the payment of the $350.00 filing fee in full as required by 28 U.S.C. §1930.

   IT IS ORDERED that the plaintiff filing the complaint or party filing the Notice of Removal pay the required
$350.00 filing fee within 14 days of the date of this order. If the bankruptcy trustee commenced this proceeding, the
trustee shall pay the filing fee as ordered above or file a statement that there are insufficient funds in the bankruptcy
estate to pay the filing fee. Failure to pay the filing fee, or file the statement shall result in dismissal of this adversary
proceeding or remand of the removed proceeding without further notice.




Date: October 31, 2017                                          BY THE COURT



Address of the Bankruptcy Clerk's Office:                       HONORABLE Eddward P. Ballinger Jr.
U.S. Bankruptcy Court, Arizona                                  United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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                   UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF ARIZONA



                NOTICE TO CUSTOMERS REGARDING PAYMENT
                             OF FILING FEES

The Court accepts cashier's checks or money orders payable to Clerk, U.S. Bankruptcy Court. Payments must be made
in person or by mail at the Phoenix or Tucson Clerk's Office locations. Personal checks cannot be accepted for
payment of filing fees.




   NOTICE TO CUSTOMERS PRESENTING CHECKS FOR PAYMENT
                OTHER THAN FOR FILING FEES
                                            (In Person or By Mail)

When you provide a check as payment, you authorize us either to use information from your check to make a
one−time electronic fund transfer from your account or to process the payment as a check transaction. For inquiries,
please call 602−682−4215.

When we use information from your check to make an electronic fund transfer, funds may be withdrawn from your
account as soon as the same day you make your payment, and you will not receive your check back from your
financial institution. Upon notification of clearance, the check will be destroyed.




                      NOTICE TO CUSTOMERS − PRIVACY ACT

A Privacy Act Statement required by 5 U.S.C. § 552a(e)(3) stating our authority for soliciting and collecting the
information from your check, and explaining the purposes and routine uses which will be made of your check
information, is available at: https://www.pccotc.gov/pccotc/index.htm, or call toll free at 1−866−945−7920 to obtain a
copy by mail. Furnishing the check information is voluntary, but a decision not to do so may require you to make
payment by some other method.




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